Case No. 1:20-cr-00305-DDD Document 236 filed 08/09/22 USDC Colorado pg 1 of 13




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305 -DDD

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 1. MICHAEL ARON TEW,

 2. KIMBERLY ANN TEW,
       a/ka Kimberley Vertanen,

       Defendant.


   GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANTS’
 MOTION TO SUPPRESS EVIDENCE FROM SEARCH OF 3222 EAST FIRST
             AVENUE, APARTMENT 224 [ECF No. 221]


       In their “Motion to Suppress Evidence from Search of 3222 East First

 Avenue, Apartment 224,” (“Defendants’ Motion”), Defendants challenge a search

 warrant of their apartment. Specifically, they request that this Court suppress, (1)

 the “items seized,” for failure to establish probable cause, and (2) the “photographs

 taken” as outside the scope of authorization of the search warrant. ECF No. 221, ¶

 19. For the reasons set forth below, the United States respectfully requests that the

 Court deny the Defendants’ Motion.
Case No. 1:20-cr-00305-DDD Document 236 filed 08/09/22 USDC Colorado pg 2 of 13




    I.        THE AFFIDAVIT IN SUPPORT OF THE SEARCH WARRANT
              ESTABLISHED PROBABLE CAUSE WITH SUFFICIENT NEXUS
              TO SEIZE THE BANK BAGS.

         Defendants make two claims challenging the affidavit: that it lacks sufficient

 nexus and that paragraph 40 is insufficient. Addressing both arguments in turn,

 the government asserts both claims fail.

         A.     There was sufficient nexus between the crime and the place
                searched.

         Defendants first claim that “the Affidavit failed to establish was [sic]

 probable cause for the search and seizure of” the seized Wells Fargo cloth bag and

 one green cloth Guaranty Bank and Trust Company bag (“bank bags”). Defendants’

 Motion at ¶ 19. Defendants reason that “there is no nexus between the bank bags,

 the residence, the criminal conduct or the proceeds or evidence of criminal conduct.”

 Id. ¶ 7, see also Id. ¶ 3-8.

         The “probable cause [required by the Fourth Amendment] to issue a search

 warrant exists when the supporting affidavit sets forth sufficient facts that would

 lead a prudent person to believe that a search of the described premises would

 uncover contraband or evidence of a crime.” United States v. Sanchez, 725 F.3d

 1243, 1247 (10th Cir. 2013) (citations omitted). Put another way, whether there

 exists probable cause is a “commonsense, practical question” answered by

 evaluating the totality of the circumstances and turning on whether there is a “fair

 probability” that contraband or evidence will be in a particular place. United States



                                             2
Case No. 1:20-cr-00305-DDD Document 236 filed 08/09/22 USDC Colorado pg 3 of 13




 v. Biglow 562 F.3d 1272, 1281 (10th Cir. 2009) (citing Illinois v. Gates, 462 U.S. 213,

 238 (1983)).

       These principles apply both to whether a crime has occurred and to whether

 evidence of that crime will be in a particular place — the “nexus requirement”.

 United States v. Khan, 989 F.3d 806, 816 (10th Cir. 2021). That is, the search

 warrant does not need to establish with certainty that items will be in a particular

 place. It needs to describe “circumstances which would warrant a person of

 reasonable caution in the belief that the articles sought are at a particular place.”

 Id. at 816. A magistrate judge can draw reasonable inferences from the information

 in an affidavit and consider the “practical considerations of everyday life.” Biglow,

 562 F.3d at 1279. Courts should not review search warrants in a “hypertechnical

 manner;” they should be reviewed with common sense. United States v. Ventresca,

 380 U.S. 102, 109 (1965). Once a magistrate judge has found probable cause and

 issued a warrant, the law discourages second-guessing. If the circumstances are

 “doubtful or marginal,” the district court should give deference to the judgment of

 the magistrate judge. Biglow. 562 F.3d at 1282 (quoting Massachusetts v. Upton,

 466 U.S. 727, 734 (1984)).

       “If the [magistrate] judge only considered a supporting affidavit in issuing

 the warrant, the reviewing court likewise determines the existence of probable

 cause for the warrant exclusively from the supporting affidavit’s four corners.”

 Whiteley v. Warden, Wyo. State Penitentiary, 401 U.S. 560, 565 n. 8 (1971); United


                                            3
Case No. 1:20-cr-00305-DDD Document 236 filed 08/09/22 USDC Colorado pg 4 of 13




 States v. Beck, 139 Fed. Appx. 950, 954 (10th Cir. 2005). Here, the affidavit, within

 its four corners, sufficiently established a nexus between Defendants’ crimes and

 the apartment, articulating the following chain of logic: (1) Defendants committed

 fraud that resulted in receiving money from Victim National Air Cargo (“NAC”), (2)

 Defendants deposited those proceeds into bank accounts, (3) Defendants withdrew

 those proceeds using the bank bags, and (4) those bank bags were located in

 Defendants’ shared apartment.

       Specifically, examining the affidavit, it described sufficient facts establishing

 Defendants’ relationship with NAC and the complex, fraudulent scheme employed

 to illegally obtained proceeds from Victim by submitting fraudulent invoices in

 paragraphs 27 through 35. From there, the affidavit established that Defendants

 had deposited those proceeds into traditional bank accounts operated by

 Defendants, information learned from Defendant Michael Tew himself. Id. ¶ 39.

 Thereon, the affidavit states directly that “M. TEW used two bags interchangeably

 to carry cash withdrawn from traditional bank accounts that received,” corroborated

 by video footage showing Defendant Michael Tew’s possession of a black cloth bag

 and also bank records showing withdrawal of funds. Id. ¶¶ 40, 41. Thus, the

 affidavit established a nexus between the crimes and use of the bank bags to

 transfer fraudulently obtain funds.

       The affidavit then directly established that “on July 28, 2020, M. TEW stated

 that the Wells Fargo branded cloth bag with the Guarantee Bank and Trust cloth


                                           4
Case No. 1:20-cr-00305-DDD Document 236 filed 08/09/22 USDC Colorado pg 5 of 13




 are stored at his shared apartment with K. TEW,” establishing a direct link to

 Defendants’ apartment. Id. ¶ 40. Thoroughly, the affidavit established that “M.

 TEW AND K. TEW share the apartment . . . at 3222 East First Avenue, Apartment

 224, Denver Colorado 80206,” articulating fully that the place to be searched in the

 search warrant was in fact linked to Defendants. See United States v. Gonzalez, 399

 F.3d 1225, 1231 (10th Cir. 2005) (facts must establish residence belongs to or is

 otherwise linked to defendant). Accordingly, contrary to Defendants’ claim, the

 chain of logic in the affidavit supported sufficiently and directly a nexus among the

 crime, the bank bags, and the apartment searched, and the Court should accord the

 magistrate judge’s determination due deference.

        B.      Paragraph 40 should be read in context and with common sense.

        Defendants next claim that paragraph 40 is founded on statements with no

 indication of when, to whom, and under what circumstances Defendant Michael

 Tew made the statement. Defendants’ Motion at ¶ 5; see Id. 221-1, ¶ 40. The

 government cannot ascertain, however, whether Defendants’ assertion is a legal

 challenge to the warrant or intended to support Defendants’ nexus argument.

 Unfortunately, no authority was provided to aid in a determination. 1

        In the interest of not conceding Defendants’ point, if a meritorious claim can

 be somehow inferred, the government asserts that Defendant is simply incorrect


 1       To the extent that Defendants are attempting to establish a violation pursuant to Franks v.
 Delaware, 438 U.S. 154 (1978)—that paragraph 40 contains a misstatement or omission—they have
 not made a “substantial preliminary showing” of all elements of a Franks violation. See United States
 v. Herrera, 782 F.3d 571 (10th Cir. 2015).

                                                  5
Case No. 1:20-cr-00305-DDD Document 236 filed 08/09/22 USDC Colorado pg 6 of 13




 that the missing context for Defendant Michael Tew’s statements was not provided.

 Looking earlier in the affidavit at paragraph 29, it established that Defendant

 Michael Tew was interviewed by law enforcement officers in July 2020, the first

 mention of any statements made by that defendant. In paragraphs 38 as well as 40,

 Michael Tew’s statements are provided without the context of when, to whom, and

 under what circumstances they were made. It follows, by common-sense in the

 totality of the circumstances contained in the affidavit, that the statements made in

 paragraph 40 are attributed to the July 2020 interview mentioned in paragraph 29.

 At any rate, the district court should give deference to the judgment of the

 magistrate judge that sufficient information regarding the statements in paragraph

 40, ultimately aiding to establish probable cause, was contained in the affidavit. See

 Biglow. 562 F.3d at 1282.

       C.     The agents relied on the warrant in good faith.

       Should the Court find any of Defendants’ claims above persuasive, that the

 warrant was defective in some way, the Court should not suppress the items seized

 because the agents relied on the warrant in good faith. The good faith exception

 applies when law enforcement obtain evidence in objectively reasonable reliance on

 a warrant later found to be technically defective. Mass. v. Sheppard, 468 U.S. 981.

 991 (1984); United States v. Leon, 468 U.S. 897, 922 (1984).

       Here, the agents’ reliance on the facially sufficient search warrant, ECF No.

 221-2, was objectively reasonable because it was issued by a United States


                                           6
Case No. 1:20-cr-00305-DDD Document 236 filed 08/09/22 USDC Colorado pg 7 of 13




 magistrate judge who had reviewed a supporting affidavit with sufficient indicia of

 probable cause, Id. No. 221-1, No technical deficiencies were apparent to objectively

 supply an unreasonable belief that the warrant was mistaken. See Leon, 468 U.S. at

 923 (describing circumstances in which it might not be objectively reasonable to rely

 on a warrant, none of which apply here); United States v. Cruz, 774 F.3d 1278, 1291

 (10th Cir. 2014) (same). Accordingly, even if the Court finds technical deficiencies

 per Defendants’ arguments against nexus and paragraph 40, the Court should still

 decline to suppress because the agents acted in good faith.

    II.      ALL PHOTOGRAPHS WERE EITHER EXPLICITLY AUTHORIZED
             OR IN PLAIN VIEW AND THUS SHOULD NOT BE SUPPRESSED.

          The Defendants bear the burden of proving that a search was improper.

 United States v. Carhee, 27 F.3d 1493, 1496 (10th Cir. 1994) (“Generally, if the

 search or seizure was pursuant to a warrant, the defendant has the burden of

 proof.”) (citation and quotation marks omitted). Defendants here argue that “agents

 did not have authority pursuant to the search warrant to seize photograph images

 of the apartment” because “the seizure of those photographic images exceeded the

 scope of the warrant issued by Magistrate Judge Haggarty [sic].” ECF No. 221, ¶ 16;

 see id. ¶ 15. In opposition, the government asserts that Defendants have not met

 their burden. All photographs were either authorized or otherwise in plain view

 during a legitimate search and thus should not be suppressed. Arizona v. Hicks,

 480 U.S. 321, 325 (1987) (noting that items lawfully exposed to the view of the

 police have no Fourth Amendment protection); United States v. Mancari, 463 F.3d

                                           7
Case No. 1:20-cr-00305-DDD Document 236 filed 08/09/22 USDC Colorado pg 8 of 13




 590, 596 (7th Cir. 2006) (“[w]hen officers who are lawfully on the premises pursuant

 to a valid search warrant merely record what they observe there that is in plain

 view, they do not invade legally protected privacy or any other legal interest.”

 Platteville Area Apartment Assoc. v. City of Platteville, 179 F.3d 574, 579 (7th

 Cir.1999)).

        A.      The constitutionality of all photographs must be determined
                item by item.

        Generally, if executing officers exceed the scope of a search warrant, the

 seized evidence may be suppressed. Patel v. Hall, 849 F.3d 970. 984 (10th. Cir.

 2017). At issue here are 108 photographs agents taken during execution of the

 search warrant, provided in discovery, and logged in a photolog. Exhibit 1; see also

 ECF No. 221-4. Defendants make no attempt to distinguish among the photographs

 taken or justify their individual basis for suppression. This is unfortunate because

 Court must determine the constitutionality, item by item as part of a “severance”

 analysis. United States v. Sells, 463 F.3d 1148, 1156 (10th Cir. 2006). To assist the

 Court in this analysis, the government submits the photographs as Exhibit 1.

        As is apparent in the exhibit, the photographs are not all the same. There are

 two categories of photographs; (1) general photographs of the apartment and items

 seen but not articulated in warrant, and (2) bank bag photographs. 2 See Ex. 1. The

 government will address both categories separately.



 2      There are several photographs of the warrant itself. These were possessed by agents, not
 Defendants, and thus do not implicate the Fourth Amendment or any possessory interests.

                                               8
Case No. 1:20-cr-00305-DDD Document 236 filed 08/09/22 USDC Colorado pg 9 of 13




       B.      At threshold, the warrant authorized search of all rooms for
               articulated evidence, and Defendants do not challenge the
               scope of this authorization or agents’ legitimate presence in the
               apartment.

       The warrant authorized search of “all rooms for the apartment unit 224

 pictured and described above . . . ,” for “two cloth, or similar material, bags”

 containing bank logos. ECF No. 221-1, 2 (Attachments A and B to the warrant).

 Defendants’ Motion makes no challenges to the scope of the authorized search, and

 thus there is no dispute to that agents were legitimately on the premises of unit 224

 pursuant to their authorization.

       C.      Photographs of the bank bags were explicitly within the scope
               of the search.

       Several photographs were taken of the bank bags seized on scene as physical

 evidence. See Ex. 1. Seizure of the bank banks was explicitly authorized in the

 warrant, and photographs merely capture and are a part of that authorized seizure.

 See ECF. 221-1, 2; Section I, supra (government’s response to Defendants’ claims

 against seizure of the bank bags). Accordingly, photographs of the bank bags were

 within the scope and should not be suppressed.

       D.     All other photographs were taken in plain view within the
              scope of authorization.

       “It is well settled . . . that ‘objects falling in the plain view of an officer who

 has the right to be in the position to have that view are subject to seizure and may

 be introduced into evidence.’” United States v. Espinosa, 641 F.2d 153, 166 (4th Cir.

 1981) (quoting Harris v. United States, 390 U.S. 234, 235 (1968)). This includes

                                             9
Case No. 1:20-cr-00305-DDD Document 236 filed 08/09/22 USDC Colorado pg 10 of 13




  items seen in plain view in the course of executing a warrant for specified objects.

  See Coolidge v. New Hampshire, 403 U.S. 443, 465 (1971). This is true because a

  “seizure of an object in plain view does not involve an intrusion on privacy.” Horton

  v. California, 496 U.S. 128, 141 (1990); see Hicks, 480 U.S. at 324 (recording of

  serial numbers, although not authorized, did not meaningfully interfere with any

  possessory interests and thus did not exceed the scope of the warrant).

        In that vein, photographs of items observed while officers were lawfully on

  the premises have been held admissible. United States v. Speece, 986 F.2d 1431, ¶ 3

  (10th Cir. 1993) (unpublished) (“Since the officers were lawfully on the premises,

  their use of photographs of items in plain view was also lawful”); Espinosa, 641 F.2d

  at 166-167; Bills v. Asteline, 958 F.2d 697, 707 (6th Cir. 1992); Mancari, 463 F.3d at

  596. Evident on the face of the photographs, see Ex. 1, the agents merely captured

  their plain-view observations while lawfully on the premises pursuant to their

  authorization to search all rooms. The challenged photographs are thus admissible

  and should not be suppressed.

        In fact, the photographs may not constitute a seizure at all so as to fall under

  the safeguards of the Fourth Amendment. Constitutionally, a “seizure occurs when

  there is some meaningful interference with an individual’s possessory interests,”

  Maryland v. Macon, 472 U.S. 463, 469 (1985); see United States v. Jacobson, 466

  U.S. 109, 113 (“a ‘seizure occurs when there is a meaningful interference with an

  individual’s possessory interests in that property”); Texas v. Brown, 460 U.S. 730,


                                            10
Case No. 1:20-cr-00305-DDD Document 236 filed 08/09/22 USDC Colorado pg 11 of 13




  739 (1980) (“when a police officer has observed an object in ‘plain view,’ the owner’s

  remaining interest in the object are merely those of possession and ownership”);

  Horton, 496 U.S. at 133-134 (“if an article is already in plain view, neither its

  observation nor its seizure would involve any invasion of property”) (internal

  citations omitted). A “recording of visual images of a scene by means of photography

  does not amount to a seizure because it does not ‘meaningfully interfere’ with any

  possessory interest.’” Bills, 958 F.2d at 707; see also Mancari, 463 F.3d at 596

  (following Bills in holding that photographs taken during search warrant do not

  amount to a seizure because there was not meaningful interference with a

  possessory interest). It follows here that agents did not physically seize anything

  observed in the photographs (outside the bank bags), and thus agents did not

  interfere with any possessory interests in the rooms. Accordingly, the photographs

  do not constitute a seizure at all. See United States v. Harb, 2009 WL 910777, *1, 8

  (D. Utah 2009) (“photographs [300 taken of every room and interior and exterior of

  premises] during execution of a search warrant is not a seizure in violation of the

  Fourth Amendment”).

     III.      DEFENDANTS’ MOTION MAKES NO FACTUAL ALLEGATIONS AND
               CAN BE DECIDED AS A MATTER OF LAW; NO HEARING IS
               NECESSARY

            Defendants’ Motion does not put any material facts at issue. Rather, they

  have argued within the language of the affidavit to assert that probable cause was

  not established for the bank bags and that the photographs exceeded the scope


                                              11
Case No. 1:20-cr-00305-DDD Document 236 filed 08/09/22 USDC Colorado pg 12 of 13




  authorized by the search warrant. See United States v. Chavez-Marquez, 66 F.3d

  259, 261 (10th Cir. 1995) (“a defendant who requests a hearing bears the burden of

  showing that there are disputed issues of material fact”). A hearing is not

  necessary.

     IV.      CONCLUSION

           The Court should deny the Defendant’s Motion without a hearing for all of

  the reasons set forth above.

                                  Respectfully submitted this 9th day of August, 2022,

                                                 COLE FINEGAN
                                                 United States Attorney

  By:     /s/ Bryan David Fields              By:     /s/ Albert Buchman
  Bryan David Fields                          Albert Buchman
  Assistant United States Attorney            Assistant United States Attorney
  U.S. Attorney’s Office                      U.S. Attorney’s Office
  1801 California St. Suite 1600              1801 California St. Suite 1600
  Denver, CO 80202                            Denver, CO 80202
  (303) 454-0100                              (303) 454-0100
  Bryan.Fields3@usdoj.gov                     Al.Buchman@usdoj.gov
  Attorney for the Government                 Attorney for the Government


  Certification of Type-Volume Limitation

         I hereby certify that the foregoing pleading complies with the type-volume
  limitation set forth in Judge Domenico’s Practice Standard III(A)(1).

                                                       /s/ Albert Buchman
                                                       Albert Buchman




                                            12
Case No. 1:20-cr-00305-DDD Document 236 filed 08/09/22 USDC Colorado pg 13 of 13




  Statement of Speedy Trial Impact

        Pursuant to Judge Domenico’s Practice Standard III(C), the government notes
  that this motion will not affect the speedy trial clock in this case because any
  resolution of it will be within the already-granted ends-of-justice continuance granted
  on May 12, 2022, ECF No. 198.

                                                       /s/ Albert Buchman
                                                       Albert Buchman


                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 9, 2022, I electronically filed the
  foregoing with the Clerk of the Court using the CM/ECF system, which system
  automatically provides a copy to defense counsel of record.



                                                 /s/ Albert Buchman
                                                 Albert Buchman
                                                 Assistant United States Attorney
                                                 1801 California Street, Suite 1600
                                                 Denver, Colorado 80202
                                                 Phone: (303) 454-0100
                                                 Fax: (303) 454-0403
                                                 E-mail: Al.Buchman@usdoj.gov
                                                 Attorney for the United States




                                            13
